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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO
                                      DENVER DIVISION

                                     CASE NO.: 1:22-cv-01037

   ERIC PICKERSGILL,

                   Plaintiff,

   v.

   THE EGOTIST, LLC DBA THE DENVER
   EGOTIST,

                   Defendant.


                           CERTIFICATE OF INTERESTED PERSONS
                                          AND
                           CORPORATE DISCLOSURE STATEMENT

         Plaintiff ERIC PICKERSGILL (“Pickersgill”), by and through his undersigned counsel,

  hereby discloses the following pursuant to Fed. R. Civ. P. 7.1:

         1.      The name of each person, attorney, association of persons, firm, law firm,

  partnership and corporation that has or may have an interest in the outcome of this action –

  including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies

  that own 10% or more of a party’s stock, and all other identifiable legal entities related to any

  party in the case:

         Eric Pickersgill                                       Plaintiff
         Joel B. Rothman                                        Plaintiff’s Counsel
         Jonah A. Grossbardt                                    Plaintiff’s Counsel
         Matthew Laurence Rollin                                Plaintiff’s Counsel
         SRIPLAW, P.A.                                          Plaintiff’s Counsel
         William S. Wenzel                                      Plaintiff’s Counsel
         Red Road Legal, P.C.                                   Plaintiff’s Counsel
         The Egotist, LLC dba The Denver Egotist                Defendant

         Pickersgill states that he is an individual and not a corporation.


                                              SRIPLAW
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         Pickersgill further states that there are no other persons, associations or persons,

  firms, partnerships, guarantors, insurers, affiliates, parent or subsidiary corporations, or

  other legal entities that are financially interested in the outcome of the case other than the

  parties to this action and their respective counsel.

         2.      The name of every other entity whose publicly-traded stock, equity or debt may

  be substantially affected by the outcome of the proceedings:

         None.

         3.      The name of every other entity which is likely to be an active participant in the

  proceedings, including the debtor and members of the creditor’s committee (or twenty largest

  unsecured creditors) in bankruptcy cases:

         None.

         4.      The name of each victim (individual or corporate) of civil and criminal conduct

  alleged to be wrongful, including every person who may be entitled to restitution.

         Eric Pickersgill.

         I hereby certify that, except as disclosed above, I am unaware of any action or potential

  conflict of interest involving the district judge and magistrate judge assigned to this case, and

  will immediately notify the Court in writing on learning of any such conflict.

  Dated: April 28, 2022                         Respectfully submitted,


                                                /s/ Matthew L. Rollin
                                                JONAH A. GROSSBARDT
                                                jonah.grossbardt@sriplaw.com
                                                MATTHEW L. ROLLIN
                                                matthew.rollin@sriplaw.com

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                                        Counsel for Plaintiff Eric Pickersgill




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